                                          Case 3:16-cv-05269-TEH Document 24 Filed 01/18/17 Page 1 of 1




                                   1                               UNITED STATES DISTRICT COURT
                                   2                           NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    MOJAN KAZEMI,
                                                                                         Case No. 16-cv-05269-TEH
                                   5                  Plaintiff,
                                   6            v.                                       ORDER OF DISMISSAL
                                   7    DAVE'S GOURMET, INC.,
                                   8                  Defendant.
                                   9

                                  10

                                  11          The Parties hereto, by their counsel, having advised the Court that they have agreed
                                  12   to a settlement of this cause,
Northern District of California
 United States District Court




                                  13          IT IS HEREBY ORDERED that this cause be dismissed with prejudice; provided,
                                  14   however, that if any party hereto shall certify to this Court, with proof of service of a copy
                                  15   to opposing counsel, within thirty (30) days from the date of this order, that the agreed
                                  16   consideration for said settlement has not been delivered over, the foregoing Order shall
                                  17   stand vacated and this cause shall forthwith be restored to the calendar to be set for trial.
                                  18

                                  19   Dated: 1/18/2017                             _____________________________________
                                                                                     THELTON E. HENDERSON
                                  20                                                 United States District Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
